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 1   DANIEL J. BRODERICK
     Federal Defender
 2   RACHELLE BARBOUR, Bar #185395
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700
 5   Attorney for Defendant
     BRIAN ARMENTA
 6
 7                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,    )
 9                                )          Case No. CR.S-07-249-LKK
                    Plaintiff,    )
10                                )
               v.                 )          ORDER CONTINUING CASE AND
11                                )          EXCLUDING TIME
     BRIAN ARMENTA,               )
12                                )
                    Defendants. )
13                                )
     ____________________________ )
14
15           The above case appeared on this court's calendar on December 11,
16   2007.    At that time Assistant Federal Defender Rachelle Barbour
17   appeared for Defendant BRIAN ARMENTA, who is in custody.             Daniel M.
18   Davis appeared for Defendant DAVID GUERRERO, also in custody.
19   Assistant United States Attorney Jason Hitt appeared for the
20   government.
21           Defense counsel requested additional time to discuss the case with
22   the government and determine if the case can be resolved with plea
23   agreements.     Exclusion of time under the Speedy Trial Act until January
24   8, 2008 was consented to by Armenta and Guerrero, and was stipulated to
25   on the record by the government.         The continuance was granted.
26   //
27   //
28
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 1        For the reasons just stated, this case is continued for further
 2   status conference until January 8, 2008 at 9:30 a.m. on this court's
 3   criminal calendar.   Time for trial under the Speedy Trial Act, 18
 4   U.S.C. § 3161 et. seq. is excluded pursuant to 18 U.S.C. §
 5
     3161(h)(8)(A) & (B)(iv).
 6
            IT IS SO ORDERED.
 7
                                      By the Court,
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     Dated: December 13, 2007
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